          Case 1:15-cv-07433-LAP Document 235 Filed 06/21/16 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                          15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X

                Declaration Of Laura A. Menninger In Support Of Defendant’s Motion
                          to Reopen Deposition of Plaintiff Virginia Giuffre

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Defendant’s Motion to Reopen Deposition of Plaintiff Virginia Giuffre.

        2.       Attached as Exhibit A is a true and correct copy of the transcript of the hearing

held before this Court on April 21, 2016.

        3.       Attached as Exhibit B is a true and correct copy of a letter from Laura A.

Menninger to Sigrid McCawley dated April 25, 2016 concerning discovery.

        4.       Attached as Exhibit C is a true and correct copy of Plaintiff’s Second Amended

Supplemental Response and Objections to Defendant’s First Set of Discovery Requests to

Plaintiff, served April 29, 2016.
        Case 1:15-cv-07433-LAP Document 235 Filed 06/21/16 Page 2 of 3




       5.     Attached as Exhibit D (filed under seal)




       6.     Attached as Exhibit E (filed under seal)



       7.     Attached as Exhibit F (filed under seal)



       8.     Attached as Exhibit G (filed under seal)




       9.     Attached as Exhibit H (filed under seal)



       10.    Attached as Exhibit I (filed under seal)




       11.    Attached as Exhibit K (filed under seal) i




       12.    Attached as Exhibit L is a true and correct copy of a letter from Laura A.

Menninger to Sigrid McCawley and Meredith Shultz dated June 13, 2016 concerning discovery.

       13.    Attached as Exhibit M (filed under seal) i




                                                2
        Case 1:15-cv-07433-LAP Document 235 Filed 06/21/16 Page 3 of 3




       14.    Attached as Exhibit N (filed under seal)




                                               By: /s/ Laura A. Menninger
                                               Laura A. Menninger




                               CERTIFICATE OF SERVICE

      I certify that on June 21, 2016, I electronically served this Declaration Of Laura A.
Menninger In Support Of Defendant’s Motion to Reopen Deposition of Plaintiff Virginia Giuffre
via ECF on the following:

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                                                 /s/ Nicole Simmons
                                                 Nicole Simmons




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